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16
17                      UNITED STATES DISTRICT COURT
18                     CENTRAL DISTRICT OF CALIFORNIA
19
     NATALIE TRISTAN, Individually and                   8:22-cv-1183
                                               Case No. ____________
20
     On Behalf of All Others Similarly
21   Situated                                  NOTICE OF REMOVAL
22                            Plaintiff,       State Court Docket: Superior Court of
23         v.                                  California, County of Orange
24   BANK OF AMERICA, N.A.,                    Case No. 30-2022-01255728-CU-FR-
25                            Defendant.       CJC
26
                                               Complaint Filed: April 20, 2022
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28                              NOTICE OF REMOVAL
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 1         TO THE CLERK OF THE ABOVE-TITLED COURT:
 2         PLEASE TAKE NOTICE THAT, for the reasons stated below, Defendant
 3   Bank of America, N.A. (“Bank of America”) hereby removes the above-captioned
 4   action from the Superior Court of California for the County of Orange to the United
 5   States District Court for the Central District of California.
 6         As grounds for removal, Bank of America states as follows:
 7                                        SUMMARY
 8         1.     A defendant may remove an action from state court pursuant to 28
 9   U.S.C. § 1441(a) if the federal district court has original jurisdiction over the action.
10         2.     This Court has original jurisdiction over this action as a case with a
11   claim “arising under” federal law, 28 U.S.C. § 1331, and with the remaining claims
12   being “so related to claims in the action within such original jurisdiction that they
13   form part of the same case or controversy,” 28 U.S.C. § 1367(a). Such actions may
14   be removed from state court pursuant to 28 U.S.C. § 1441(a).
15         3.     This Court also has original jurisdiction over this action as an alleged
16   class action in which “any member of a class of plaintiffs is a citizen of a State
17   different from any defendant” and in which “the matter in controversy exceeds the
18   sum or value of $5,000,000, exclusive of interest and costs.” 28 U.S.C. § 1332(d)(2).
19   Such actions may be removed from state court pursuant to 28 U.S.C. § 1453(b).
20                  PROCEDURAL HISTORY AND BACKGROUND
21         4.     On April 20, 2022, Plaintiff Natalie Tristan filed a putative class action
22   complaint captioned Tristan v. Bank of America, N.A., Case No. 30-2022-01255728-
23   CU-FR-CJC, in the Superior Court of California in the County of Orange. On June
24   8, 2022, Plaintiff filed an amended version of the complaint (“First Amended
25   Complaint” or “FAC”) in the same court. Copies of both complaints, together with
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 1   all process, pleadings, and orders served on Bank of America in the state court
 2   action, are attached hereto.
 3             5.   In the FAC, Plaintiff alleges that (1) she used Zelle to pay an application
 4   fee, security deposit and first month’s rent to another person in anticipation of
 5   moving into a rental apartment, (2) the other person turned out to be a fraudster who
 6   never delivered the keys or possession of the apartment, and (3) Bank of America
 7   declined to refund the amount she paid to the fraudster. See FAC ¶¶ 54-63. The
 8   FAC asserts, on behalf of a putative class, claims for breach of contract and
 9   violations of the California Unfair Competition Law (Cal. Bus. & Prof. Code
10   § 17200 et seq.), the California False Advertising Law (Cal. Civ. Code § 17500 et
11   seq.), and the Electronic Fund Transfer Act (15 U.S.C. § 1693 et seq.). Id. ¶¶ 64-
12   114. Plaintiff seeks actual, compensatory, punitive, and exemplary damages, pre-
13   judgment interest, attorneys’ fees and costs, and equitable relief including
14   restitution, disgorgement, and a permanent injunction. Id. at 23. Bank of America
15   disputes the allegations in the complaint and disputes that Plaintiff is entitled to any
16   relief.
17             6.   Plaintiff served Bank of America with the original complaint and
18   summons on May 18, 2022. Bank of America’s time to respond to the complaint
19   and summons has not expired, and Bank of America has not served or filed an
20   answer.
21             7.   This notice of removal is timely filed under 28 U.S.C. § 1446(b)
22   because it is filed less than 30 days from May 18, 2022, the date on which Bank of
23   America was served with a copy of the complaint and summons. No previous notice
24   of removal has been filed or made to this Court for the relief sought herein.
25             8.   This action is removable to this Court because Orange County is located
26   in the Central District of California. See 28 U.S.C. § 1441(a).
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 1                              GROUNDS FOR REMOVAL
 2         9.     A defendant may remove an action from state court if the federal district
 3   court has original jurisdiction over the action. 28 U.S.C. § 1441(a).
 4         10.    This Court has original jurisdiction over this action under both its
 5   statutory grant of federal question jurisdiction, 28 U.S.C. § 1331, and the Class
 6   Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d).
 7         11.    28 U.S.C. § 1331 vests federal district courts with “original jurisdiction
 8   of all civil actions arising under the Constitution, laws, or treaties of the United
 9   States.” Plaintiff’s EFTA claim satisfies the requirement that the action “arise
10   under” federal law. Accordingly, the additional (and related) claims brought under
11   California statutory and common law are removable by virtue of this court’s
12   supplemental jurisdiction. See 28 U.S.C. § 1367(a).
13         12.    CAFA vests federal district courts with “original jurisdiction of any
14   civil action” (A) that “is a class action,” (B) in which “the number of members of all
15   proposed plaintiff classes in the aggregate is [not] less than 100,” (C) in which “any
16   member of a class of plaintiffs is a citizen of a State different from any defendant”;
17   and (D) in which “the matter in controversy exceeds the sum or value of $5,000,000,
18   exclusive of interest and costs.” 28 U.S.C. § 1332(d). This action also satisfies these
19   requirements.
20         A.      Plaintiff’s EFTA Claim Arises Under Federal Law, And
21                 Plaintiff’s Other Claims Are Fit For Supplemental Jurisdiction
22         13.    “The well-pleaded-complaint rule has long governed whether a case
23   ‘arises under’ federal law for purposes of § 1331.” Holmes Grp., Inc. v. Vornado
24   Air Circulation Sys., Inc., 535 U.S. 826, 830 (2002). This rule “provides that federal
25   jurisdiction exists only when a federal question is presented on the face of the
26   plaintiff’s properly pleaded complaint.”      Retail Prop. Tr. v. United Bhd. of
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 1   Carpenters & Joiners of Am., 768 F.3d 938, 947 (9th Cir. 2014) (quoting Caterpillar
 2   Inc. v. Williams, 482 U.S. 386, 392 (1987)).
 3         14.    Here, a federal question—namely, the interpretation and application of
 4   the EFTA—is “presented on the face of” the FAC. Id.; see FAC ¶¶ 94-114.
 5   Therefore, Plaintiff’s EFTA claim “‘arises under’ federal law for purposes of
 6   § 1331.” Holmes Grp., 535 U.S. at 830.
 7         15.    In turn, Plaintiff’s state law claims may be removed because of this
 8   Court’s supplemental jurisdiction. 28 U.S.C. § 1367(a) vests this Court with
 9   jurisdiction “over all other claims that are so related to claims in the action within
10   such original jurisdiction that they form part of the same case or controversy under
11   Article III of the United States Constitution.”
12         16.    Here, Plaintiff’s federal and state claims “derive from a common
13   nucleus of operative fact,” such that the exercise of supplemental jurisdiction is
14   proper. United Mine Workers v. Gibbs, 383 U.S. 715, 725 (1966). Specifically, the
15   EFTA claim and the California statutory and common law claims derive from the
16   same constellation of alleged events concerning Plaintiff’s attempt to rent an
17   apartment and her transfer of funds to a fraudster who said he had an apartment to
18   rent. The claims “form part of the same case or controversy under Article III of the
19   United States Constitution,” and therefore warrant this Court’s exercise of
20   supplemental jurisdiction. 28 U.S.C. § 1367(a).
21         B.      This Action Is A Putative Class Action
22         17.    Original jurisdiction under CAFA applies to any civil action that “is a
23   class action.” 28 U.S.C. § 1332(d)(2). A “class action” means “any civil action filed
24   under rule 23 of the Federal Rules of Civil Procedure or similar State statute or rule
25   of judicial procedure authorizing an action to be brought by 1 or more representative
26   persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).
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 1         18.    California Code of Civil Procedure § 382 provides in part that “when
 2   the question is one of a common or general interest, of many persons, or when the
 3   parties are numerous, and it is impracticable to bring them all before the court, one
 4   or more may sue or defend for the benefit of all.” Section 382 is the California state
 5   analog to Federal Rule of Civil Procedure 23. See Huckleby v. Manpower, Inc., 2010
 6   WL 11552970, at *3 n.1 (C.D. Cal. Sept. 7, 2010).
 7         19.    Plaintiff brings her “action individually and as representatives [sic] of
 8   all those similarly situated, on behalf of … [a]ll persons with a [Bank of America]
 9   account who signed up for the Zelle Service and incurred unreimbursed losses due
10   to fraud,” as well as a subclass of all such people in California. FAC ¶ 64. She
11   raises “class allegations,” see id., and seeks an order “[c]ertifying the proposed
12   Classes, appointing Plaintiff as representative of the Classes, and appointing counsel
13   for Plaintiff as lead counsel for the respective Classes,” id. at 23. This action is
14   therefore a putative class action removable under CAFA under 28 U.S.C.
15   § 1332(d)(2).
16         C.        The Putative Class Is Sufficiently Numerous
17         20.    Under 28 U.S.C. § 1332(d)(5)(B), the number of members of all
18   proposed plaintiff classes must equal or exceed 100 in the aggregate for the action
19   to be removable under CAFA.
20         21.    Plaintiff proposes to represent a class consisting of “[a]ll persons with
21   a [Bank of America] account who signed up for the Zelle Service and incurred
22   unreimbursed losses due to fraud,” as well as a subclass of all such people in
23   California. FAC ¶ 64. She estimates that there are “thousands of similarly situated
24   customers of [Bank of America].” Id. ¶ 1. The proposed class is thus sufficiently
25   numerous under 28 U.S.C. § 1332(d)(5)(B).
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 1           D.    There Is Diversity Of Citizenship Between The Parties
 2           22.   A putative class action is removable if “any member of a class of
 3   plaintiffs is a citizen of a State different from any defendant.”         28 U.S.C.
 4   § 1332(d)(2)(A).
 5           23.   Plaintiff is “a citizen and resident of Orange County, California.” FAC
 6   ¶ 13.
 7           24.   Bank of America is “a federally chartered bank with its principal place
 8   of business in Charlotte, North Carolina.” Id. ¶ 14.
 9           25.   Because Plaintiff is a citizen of California and Bank of America is a
10   citizen of North Carolina, this is a putative class action in which “any member of a
11   class of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C.
12   § 1332(d). Diversity of citizenship accordingly exists between the parties.
13           E.    The Amount In Controversy Exceeds $5,000,000
14           26.   “In any class action, the claims of the individual class members shall
15   be aggregated to determine whether the matter in controversy exceeds the sum or
16   value of $5,000,000, exclusive of interest and costs.” 28 U.S.C. § 1332(d)(6). “The
17   amount in controversy is simply an estimate of the total amount in dispute, not a
18   prospective assessment of defendant’s liability.” Lewis v. Verizon Commc’ns, Inc.,
19   627 F.3d 395, 400 (9th Cir. 2010).
20           27.   Plaintiff seeks to recover actual, compensatory, punitive, and
21   exemplary damages, attorneys’ fees and expenses, and equitable relief, on behalf of
22   a proposed class which, as noted, allegedly numbers in the thousands. See FAC at
23   23.
24           28.   The amount in controversy in this matter appears to be the value of
25   Plaintiff’s denied claim in the amount of $2,150, and all other claims similarly
26   denied to the thousands of alleged class members since Zelle launched in June 2017.
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 1         29.    Bank of America denies that it is liable to Plaintiff or the putative class
 2   in any way whatsoever. But if a court were to order the specific relief that Plaintiff
 3   demands, the amount would exceed $5,000,000. Plaintiff’s requested equitable
 4   relief would also impose substantial additional burdens on Bank of America. Thus,
 5   the amount in controversy requirement for removal under CAFA is satisfied.
 6                           OTHER PROCEDURAL MATTERS
 7         30.    Promptly upon its filing, a true copy of this Notice of Removal will be
 8   provided to all adverse parties pursuant to 28 U.S.C. § 1446(d). Pursuant to Federal
 9   Rule of Civil Procedure 5(d), Bank of America will file with this Court a Certificate
10   of Service of notice to the adverse party of removal to federal court.
11         31.    Upon the filing of this Notice of Removal, Bank of America will
12   promptly file a Notification of Filing of Notice of Removal with the Clerk of the
13   Superior Court of California, County of Orange, in accordance with 28 U.S.C.
14   § 1446(d).
15         32.    By filing this Notice of Removal, Bank of America does not waive any
16   defenses that may be available to it, including without limitation any defenses
17   relating to service, process, and jurisdiction, and does not concede that the
18   allegations in the complaint state a valid claim under any applicable law.
19         33.    Bank of America reserves the right to submit additional factual support,
20   evidence, and affidavits to support the basis for federal jurisdiction as necessary at
21   the appropriate time.
22                  NOTICE TO STATE COURT AND PLAINTIFF
23         Counsel for Bank of America certifies that pursuant to 28 U.S.C. § 1446(d),
24   copies of this Notice of Removal will be filed with the Clerk of the Superior Court
25   of California, County of Orange, and given to Plaintiff’s counsel promptly.
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 1         WHEREFORE, the case now pending in the Superior Court of California,
 2   County of Orange, Case No. 30-2022-01255728-CU-FR-CJC, is hereby removed to
 3   the United States District Court for the Central District of California pursuant to 28
 4   U.S.C. §§ 1331, 1332, 1367, 1441, and 1453.
 5
 6                                            Respectfully submitted,
 7    Dated: June 16, 2022                    /s/ Matthew D. Benedetto                   .
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